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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


OYOMA ASINOR, et al.,

       Plaintiffs,

       v.                                       Civil Action No. 1:21-cv-02158-APM

DISTRICT OF COLUMBIA, et al.,

       Defendants.


  DEFENDANTS’ PARTIAL MOTION TO DISMISS THE AMENDED COMPLAINT

       Defendants District of Columbia, Robert Glover, and Shawn Caldwell move under Rule

12(b)(6) to dismiss Claims 1, 2, and 4 of Plaintiffs’ Amended Complaint [10]. The grounds

supporting dismissal of these claims are set forth in the Memorandum of Points and Authorities

accompanying this Motion. A proposed order is also included. Because this Motion is

dispositive, the District Defendants have not sought Plaintiffs’ consent. See LCvR 7(m).

Date: October 22, 2021                             Respectfully submitted,

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DISTRICT OF COLUMBIA, et al.,

       Defendants.


      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
  DEFENDANTS’ PARTIAL MOTION TO DISMISS THE AMENDED COMPLAINT

       Plaintiffs Oyoma Asinor and Bryan Dozier filed this lawsuit on August 12, 2021, alleging

an array of common law and constitutional violations arising out of their interactions with the

Metropolitan Police Department (MPD) in the area of Lafayette Square Park between August 29

and 31, 2020. After amending their pleadings shortly after filing suit, Plaintiffs now take aim at

three named defendants—the District, MPD Commander Robert Glover, and MPD Officer

Shawn Caldwell—and, as relevant to this Motion, allege causes of action directly under the First

Amendment Assemblies Act, D.C. Code § 5-331.01, et seq. (FAAA), and the Fourth

Amendment to the U.S. Constitution via 42 U.S.C. § 1983. Unfortunately for Plaintiffs, the

FAAA does not support a private right of action, and the specific statutory provisions on which

Plaintiffs rely cannot form the basis of negligence per se. And Plaintiffs failed to plead both a

colorable violation of the Fourth Amendment as well as the existence of a municipal custom or

policy that would make their constitutional claim actionable against the District. For these

reasons, discussed in detail below, the Court should dismiss Claims 1, 2, and 4 of the Amended

Complaint.
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                                         BACKGROUND

I.     Factual Background

       August 29 – 31, 2020 brought a spate of protests and civil unrest to the District of

Columbia, largely in the area immediately north of Lafayette Square Park. See generally, Am.

Comp. Plaintiffs Oyoma Asinor and Bryan Dozier—both District residents who self-identify as

“photojournalists,” id. ¶¶ 7-8—were among the numerous individuals who participated in these

activities, see id. ¶¶ 18-68. Specifically, according to the Amended Complaint, during the

evening hours of August 29, 2020, both Plaintiffs traveled for approximately four hours with a

“group of demonstrators” through “various neighbors in the District,” allegedly taking

photographs “to document what occurred,” id. ¶ 22, before arriving around 11:00 p.m. at the

intersection of 16th and H Streets NW. Id. ¶¶ 21-24. At that approximate time and location,

Plaintiffs claim to have encountered a “large police presence,” consisting of MPD officers

stationed behind “concrete barricades” on the east side of 16th Street NW and north side of H

Street NW, in front of St. John’s Episcopal Church. See id. ¶¶ 25-27, 28 (“annotated map”).

Around the same time, a “large group of protestors” apparently stood “near” the barricades to

“express,” in various ways, “their outrage with the state of policing in America.” Id. ¶ 29.

       Soon after Plaintiffs’ arrival at 16th and H Streets NW, the scene became disorderly.

Plaintiffs recount at least two physical altercations, observed by them personally, between

“protestor[s]” or “demonstrator[s]” and the police, see id. ¶¶ 35, 55, and by 11:20 p.m., at least

one individual had been arrested, id. ¶ 31, although Plaintiffs do not indicate on what charges.

Some unspecified (but presumably short) time after things became unruly, and “as the protestors

expressed their frustrations with [the] MPD officers’ actions,” id. ¶ 37, the officers allegedly

deployed several less-lethal crowd control munitions at or in the vicinity of the “protestors,” id.

¶¶ 32-64. On Plaintiffs’ account, the munitions included two “gas or smoke” cannisters


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allegedly released in the vicinity of Plaintiff Dozier by Officers John Doe 1 and John Doe 2, id.

¶¶ 37-44, a “liquid containing chemical irritant” allegedly sprayed in Plaintiff Asinor’s direction

by Defendant Caldwell, id. ¶ 57, and a series of “stun grenades” allegedly tossed by Officer John

Doe 3, id. ¶¶ 59-60. Plaintiffs also describe an alleged physical encounter between Dozier and

Defendant Glover, during which Commander Glover allegedly forced Dozier—“grabbed,”

“lifted,” and “pushed him,” id. ¶ 45—closer to the aforementioned “gas or smoke” than he

otherwise would have been. See id. ¶¶ 45-46. Eventually, both Plaintiffs were able to “fle[e] the

scene,” returning to the safety of their respective apartments. Id. ¶ 66.

       Only Plaintiff Asinor returned the next night. Id. ¶ 67. Thin on relevant details, the

Amended Complaint does not indicate what time Asinor arrived downtown on August 30, 2020,

or with whom, nor does it explain what—specifically—Asinor and the “group of demonstrators”

gathered “at or near Black Lives Matter Plaza” were up to prior to encountering MPD personnel

at that location. See id. ¶¶ 67-68. Whatever the circumstances, Asinor was arrested shortly after

midnight on charges the Amended Complaint also fails to enumerate. Id. ¶ 69. 1 Plaintiffs

contend that Asinor’s property—his camera, cellphone, and the goggles he wore that night—

were taken by MPD incident to his arrest and were not returned to him when he was released in

the early morning hours of August 31. See id. ¶¶ 68, 70-71. In fact, at the time of his release,

Asinor apparently inquired about his effects and was told by MPD that they were being kept as

evidence. Id. ¶ 72. The District did not prosecute Asinor in connection with his arrest and

ultimately returned his belongings about a year later, on August 3, 2021. Id. ¶¶ 71-72, 75.




1
       Plaintiffs original pleading advanced a claim of false arrest on Asinor’s behalf, see
Compl. [1] ¶¶ 159-162, but the day after receiving Asinor’s arrest report in discovery, Plaintiffs
amended the Complaint to exclude that claim (as well as the constitutional equivalent, see id. ¶¶
156-158. Despite abandoning Asinor’s false arrest claim, Plaintiffs continue to allege that
Asinor “was not violating any laws” on August 30 – 31, 2020. Am. Compl. ¶ 69.
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II.     Procedural History

        Plaintiffs filed suit in this Court on August 12, 2021, initially naming as defendants the

District as well as eight John and Jane “Doe” law enforcement officers—all MPD employees

allegedly involved, in various ways, in the police response downtown on August 29 – 31, 2020.

See generally Compl. [1]. About two weeks later, Plaintiffs moved (unopposed) [7] for leave to

serve four interrogatories and one request for production of documents on the District,

collectively designed to determine the identity of the “Doe” defendants named in the Complaint.

The Court granted that request on August 24 [8], and the District thereafter complied with the

Court’s Order, responding to Plaintiff’s early discovery requests on August 27. The day after

receiving the District’s responses, Plaintiff filed the Amended Complaint [10], substituting

Commander Glover and Officer Caldwell for two of their seven “Doe” defendants, dropping

Plaintiff Asinor’s claims alleging false arrest and/or imprisonment (formerly Claims 4 and 5,

Compl. ¶¶ 156-162), and adding a constitutional challenge to the District’s retention of Asinor’s

belongings after his release from MPD custody (Claim 4, Am. Compl. ¶¶ 124-126). All named

defendants were served electronically as of September 17, 2021.

                                        LEGAL STANDARD

        Rule 12(b)(6) requires dismissal when a complaint fails to state a claim upon which relief

can be granted. To survive a Rule 12(b)(6) motion, the factual allegations of the complaint must

plausibly “raise a right to relief above the speculative level, on the assumption that all the

allegations . . . are true.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007); Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (“To survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its face”).




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In making this assessment, courts may accept only 2 well-pleaded factual allegations; conclusory

allegations and legal conclusions are not entitled to an assumption of veracity. Twombly, 550

U.S. at 555; Iqbal, 556 U.S. at 678-79. Ultimately, if a complaint fails to “set forth information

to suggest that there is some recognized legal theory upon which relief may be granted,” it must

be dismissed. District of Columbia v. Air Fla., Inc., 750 F.2d 1077, 1078 (D.C. Cir. 1984).

                                          ARGUMENT

I.     The Court Should Dismiss Plaintiffs’ Negligence Per Se Claim—Claim 1 of the
       Amended Complaint—Because the Cited Provisions of the FAAA Do Not Impose
       “Specific” Duties Sufficient to Establish a Standard of Care; Alternatively, Claim 1
       Cannot Proceed Against Defendants Glover and Caldwell Because the FAAA
       Imposes No Duties Whatsoever on Them.

       Claim 1 of the Amended Complaint purports to state a cause of action of negligence per

se against the District, Commander Glover, Officer Caldwell, and John Does 1 – 3, relating to

MPD’s alleged uses of crowd control munitions on August 29, 2020. See Am. Compl. ¶¶ 100-

107. In support of Claim 1, Plaintiffs point to two so-called “duties of care” arising under

emergency legislation 3 temporarily amending the First Amendment Assemblies Act, D.C. Code

§ 5-331.01, et seq. (FAAA), effective July 22, 2020: “‘Chemical irritants shall not be used by

MPD to disperse a First Amendment Assembly,’” and “‘Less-lethal projectiles shall not be used

by MPD to disperse a First Amendment assembly.’” See Am. Compl. ¶ 100 (quoting FAAA



2
        In addition to well-pleaded facts, the Court may consider “documents either attached to
or incorporated in the complaint and matters of which [a court] may take judicial notice.”
Trudeau v. Fed. Trade Comm’n, 456 F.3d 178, 183 (D.C. Cir. 2006) (citation and quotations
omitted).
3
        The D.C. Council is empowered to pass “emergency legislation” that takes effect
immediately (i.e., without passive congressional approval) but expires after 90 days, D.C. Code §
1-204.12, and by its own rules may pass “temporary legislation,” which is substantially the same
as emergency legislation but is effective for a period of 225 days before expiration, see Atkinson
v. District of Columbia Bd. of Elections and Ethics, 597 A.2d 863, 865 n.5 (D.C. 1991). The
emergency legislation at issue in Plaintiff’s Amended Complaint, generally, and Claims 1 and 2,
specifically, is the Comprehensive Policing and Justice Reform Second Emergency Amendment
Act of 2020, D.C. Act 23-336 (FAAA Amendment Act) at § 121(b).
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Amend. Act § 121(b)). Unfortunately for Plaintiffs, neither provision sets forth the kind of

specific guidance that is required to form the basis of negligence per se; and, even if either

provision arguably does, neither supplies a duty applicable to any individual, meaning Claim 1

must be dismissed—at a minimum—as to Defendants Glover and Caldwell.

       A. The Provisions of the FAAA on which Plaintiffs Base Claim 1 Do Not Impose
          “Specific” Duties Sufficient to Establish a Standard of Care.

       It is axiomatic that a statute will support a claim for negligence per se “only” if it

“imposes specific duties.” Night & Day Mgmt., LLC v. Butler, 101 A.3d 1033, 1039-40 (D.C.

2014); see also McNeil Pharm. v. Hawkins, 686 A.2d 567, 579 (D.C. 1996). Thus, if a statute

provides actors with discretion (and does not “outline [ ] standards” or “specific guidelines to

govern behavior,” McNeil, supra) or reverts to a common law standard of reasonable care, it

cannot form the basis of negligence per se. See Night & Day Mgmt., 101 A.3d at 1040;

Chadbourne v. Kappaz, 779 A.2d 293, 296-97 (D.C. 2001) (rejecting negligence per se claim

based on statutory provision that “[did] not contain the kind of specific guidelines that would

allow on to determine whether the statute has been violated without resorting to a common law

reasonable care analysis.”); accord Sibert-Dean v. Wash. Metro. Area Transit Auth., 721 F.3d

699, 703-05 (D.C. Cir. 2013); Joy v. Bell Helicopter Textron, 999 F.2d 549, 558-59 (D.C. Cir.

1993). That is the core shortcoming in Plaintiff’s reliance on the two provisions of the FAAA

Amendment Act incorporated into Claim 1: Although they are both express in providing a

general standard (i.e., “MPD shall . . .”), both apply, by their terms, only to policing “First

Amendment assembl[ies],” and contain no specific guidelines to govern the determination of

whether a particular gathering of persons qualifies. See FAAA Amend. Act. § 121(b).

       To be sure, not every crowd gathered in the District is a “First Amendment assembly”

under the meaning of the Act; a public gathering is disqualified if it is not “for the purpose of

persons expressing . . . views,” D.C. Code § 5-331.02(1), or not “peaceful,” id. § 5-331.03,

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among others. And there is of course a fine line between a “peaceful” assembly “for the purpose

of [ ] expressing . . . views,” see id., and a “riot,” for example, as that term is defined under

District of Columbia criminal law, D.C. Code § 1322(a) (“A riot in the District of Columbia is a

public disturbance involving an assemblage of 5 or more persons which by tumultuous and

violent conduct or the threat thereof creates grave danger of damage or injury to property or

persons.”). See e.g., Carr v. District of Columbia, 587 F.3d 401, 408-09 (D.C. Cir. 2009)

(discussing circumstances in which law enforcement would have probable cause to arrest en

masse a group of “marchers” or “protestors” engaged in riotous behavior). Thus, whether MPD

believes that an unruly crowd constitutes a “First Amendment assembly,” or conversely, a

riotous mob under the meaning of D.C. Code § 1322(a)—at least one potential, threshold inquiry

to the application of Plaintiff’s provisions of the FAAA Amendment Act—is an inquiry loaded

with discretionary elements ultimately turning on the reasonableness of law enforcement’s

assessment of specific factual circumstances: Whether, for example, a particular public

gathering is definitionally a “demonstration, rally, [etc.],” D.C. Code § 5-331.02(1), or “public

disturbance,” id. § 22-1322(a); and whether the assemblage is “for the purpose of [ ] expressing [

] views,” id. § 5-331.02(1), or to “damage or injur[e] [ ] property or persons,” id. § 22-1322(a),

among others. In fact, there is no way to evaluate whether MPD violated either provision of the

FAAA Amendment Act referenced in Claim 1, in the context of any particular public gathering,

without resorting to general common law standards of reasonable behavior and probable cause—

inquiries that are rife with “factual and practical considerations” for which the Act provides no

guiding principles. Brinegar v. United States, 338 U.S. 160, 175 (1949) (“In dealing with

probable cause, however, we deal with probabilities. These are not technical, they are the factual

and practical considerations of everyday life on which reasonable and prudent men, not legal

technicians, act.”); accord Thomas v. Kettler, 632 A.2d 725, 728-29 n.8 (D.C. 1993) (regulation


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requiring that “debris and other loose materials shall not be allowed on or under stairways” and

“slippery conditions on stairways shall be eliminated as soon as possible” did not differ

significantly from the relevant common law standard).

       Notably, ruling on motions to dismiss in Horse v. District of Columbia, No. 17-cv-1216

(ABJ) and Schultz v. District of Columbia, 18-cv-0120 (ABJ), Judge Berman Jackson rejected a

negligence per se claim purporting to rely on a different provision of the FAAA—D.C. Code §5-

331.08—in part because the provision resorted to “general terms,” including, as immediately

relevant, “‘probable cause to believe[.]’” See Defs.’ Ex. 1, Trans. of Sept. 27, 2019 Status Conf.

at 31:22-33:1. Explaining the result, Judge Berman Jackson noted that “[w]hether the officers

believe that a significant number or percentage of the people in the area committed unlawful acts

turns on the inquiry regarding the reasonableness of their belief and actions and what a

reasonable person considers to be a significant number[, and] the law [did not] set out the kind of

specific guidelines that would allow one to determine whether the statute ha[d] been violated

without resorting to a common law reasonable care analysis[.]” Id. at 32:16-25. Precisely the

same rationale applies here—as explained—and justifies dismissal of Claim 1 with prejudice.

       B. By Its Terms, the FAAA Extends Obligations to “MPD,” Not Any Individual
          MPD Employee.

       Even if the Court finds that the two provisions of the FAAA Amendment Act

incorporated into Claim 1 are sufficiently precise to form the basis of negligence per se, that

claim cannot proceed against Commander Glover or Officer Caldwell because the statute extends

no duties whatsoever to those individuals personally. A negligence per se claim may only be

maintained against “a person upon whom the statute imposes specific duties.” Night & Day

Mgmt., 101 A.3d at 1039-40 (citation omitted); McNeil Pharm., 686 A.2d at 579 (“The statute

must also impose specific duties on the defendant.”); Ginsberg v. Granados, 963 A.2d 1134,

1141 (D.C. 2009) (“Because the [statute] in no way promotes public safety and imposes no

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duties on opposing counsel, Ginsberg’s negligence per se claim must also fail.”). Thus, the

District of Columbia Court of Appeals has found that statutes placing burdens on “[a] retail

licensee” and “any officer” imposed duties on those specific actors sufficient to hold them to

account under a negligence per se theory. Night & Day Mgmt., 101 A.3d at 1039-40; District of

Columbia v. White, 442 A.2d 159, 163-64 & n.12 (D.C. 1982); see also Ingram v. Shipman-

Meyer, 241 F. Supp. 3d 124, 152-53 (D.D.C. 2017) (discussing D.C. Code § 5-125.03, which

prohibited use of chokeholds by “any police officer”), appeal dismissed, No. 17-7074, 2017 WL

5157752 (D.C. Cir., Oct. 31, 2017). Unlike these provisions, however, the portions of the FAAA

Amendment Act on which Plaintiffs rely impose no duties whatsoever on any individuals: By

their terms, they refer to “MPD,” generally, see FAAA Amend. Act. § 121(b), not “MPD

officers,” “commanding officers,” D.C. Code § 5-331.16(b)(3), or the like. Because any duty

arising under these provisions does not operate as to Glover or Caldwell—or any individual

actor, for that matter—Claim 1 should, at a minimum, be dismissed as to them.

II.     The Court Should Dismiss Claim 2 of the Amended Complaint Because the FAAA
        Does Not Support a Private Right of Action.

        Referring to the same provisions of the FAAA Amendment Act cited in Claim 1,

Plaintiffs contend in Claim 2 that the District, Commander Glover, Officer Caldwell, and John

Does 1 – 3 are liable for “violat[ing their] rights directly under the Act, which [they contend]

contains a private right of action.” Am. Compl. ¶ 108. The question of whether a statute gives

rise to a direct, private right of action is ultimately one of legislative intent. See Coates v. Elzie,

768 A.2d 997, 1001 (D.C. 2001) (enumerating factors). And, after thorough review of the

legislative record of the FAAA in Horse v. District of Columbia, No. 17-cv-1216 (ABJ) and

Schultz v. District of Columbia, 18-cv-0120 (ABJ), Judge Berman Jackson flatly rejected the

notion that the Act was intended to create a private legal remedy. After finding D.C. Code § 5-

331.17—the provision quoted by Plaintiffs in the Amended Complaint as evidence of what the

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D.C. Council “intended,” Am. Compl. ¶ 109—was not determinative of legislative intent, Judge

Berman Jackson considered the Act’s Committee Report, testimony provided in support of the

legislation, the overall statutory scheme, as well as a prior District Court decision (Mahoney,

infra) and concluded:

       The legislative history of the law indicates that the D.C. Council heard various
       arguments for and against creating a private right of action. There is a [C]ouncil
       [C]ommittee on the Judiciary [R]eport on [B]ill No. 15-968, dated December 1,
       2004, [indicating that d]rafts of a provision creating an explicit private right of
       action were heard and ultimately rejected, which suggests the [C]ouncil did not
       intend to make the [A]ct privately enforceable. . . . In Mahoney v. District of
       Columbia, 662 F. Supp. 2d 74 (D.D.C. 2009), the Court [ ] refused to recognize an
       implied right of action, in a footnote, because the D.C. Council had considered
       including a private right of action but ultimately rejected it. The [Mahoney] Court
       also considered that a private right of action appeared to be inconsistent with [the]
       statutory scheme, which provides for direct administrative review of the MPD’s
       denials of and modifications to assembly plan proposals. . . . I agree with the Court
       in Mahoney and find that the legislative intent to create a cause of action cannot be
       inferred from the language of the statute, the statutory structure, or some other
       source, and that there is no implied private right of action under the FAAA.

Defs.’ Ex. 1, Trans. of Sept. 27, 2019 Status Conf. at 23:21-28:5. Judge Berman

Jackson’s ruling was well-reasoned, as was Judge Huvelle’s before hers, Mahoney, 662

F. Supp. 2d at 94 n.11, and there is no basis in law or fact to reach a different outcome

here. See Comm. on the Judiciary v. McGahn, 415 F. Supp. 3d 148, 165 (D.D.C. 2019)

(discussing rules favoring adherence to judicial precedents). Accordingly, Claim 2 of the

Amended Complaint should be dismissed with prejudice.

III.   The Court Should Dismiss Plaintiff Asinor’s Fourth Amendment Claim Against the
       District—Claim 4 of the Amended Complaint—Because Plaintiffs’ Factual
       Allegations Do Not Establish Either a Violation of Asinor’s Fourth Amendment
       Rights or a District Custom or Policy that Caused the Alleged Retention of Asinor’s
       Property.

       Claim 4 of the Amended Complaint asserts a cause of action under 42 U.S.C. § 1983,

against the District only, based on the contention that MPD’s decision to retain Plaintiff

Asinor’s belongings—his camera, cellphone, and the goggles he donned at the time of his arrest


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on August 30 – 31, 2020—violated his Fourth Amendment right to be free from unreasonable

seizure. See Am. Compl. ¶¶ 124-125. 42 U.S.C. § 1983 does not allow respondeat superior

liability, Monell v. New York City Dep’t of Soc. Servs., 436 U.S. 658, 691 (1978); rather, a

plaintiff alleging a constitutional tort under § 1983 must establish both (1) a predicate

constitutional violation, and (2) a municipal custom or policy that was the “moving force”

behind it, Baker v. District of Columbia, 326 F.3d 1302, 1306 (D.C. Cir. 2003). Plaintiff

Asinor’s § 1983 claim falls short in both respects: The Amended Complaint does not articulate

a colorable violation of the Fourth Amendment; and even if it did, Plaintiffs do not supply a

basis for the Court to infer that any such violation was caused by municipal custom or policy.

       A.      The Retention of Plaintiff Asinor’s Property Did Not Violate His Fourth
               Amendment Rights.

       Plaintiff Asinor seems to concede that MPD lawfully seized his property incident to his

arrest on August 31, 2020. See generally Am. Compl. Asinor’s gripe is that MPD retained the

property beyond the time that it was reasonable to do so. See id. ¶ 124. But the question of

whether and under what circumstances property lawfully seized should be returned to its owner

is properly analyzed under constitutional provisions other than the Fourth Amendment. See e.g.,

Bennett v. Dutchess County, 832 Fed. Appx. 58, 59 (2d Cir. 2020) (noting that an unlawful

retention of property lawfully seized should be analyzed as a due process claim, not a Fourth

Amendment claim); Shaul v. Cherry Valley-Springfield Cent. Sch. Dist., 363 F.3d 177, 187 (2d

Cir. 2004) (same); Lee v. City of Chicago, 330 F.3d 456, 465–66 and n.5 (7th Cir. 2003) (noting

that an unlawful retention of evidence might be more properly analyzed as a claim of taking

without just compensation). 4 Fundamentally, the Fourth Amendment protects different interests




4
       In the Amended Complaint, Plaintiff Asinor cites Smith v. District of Columbia, 387 F.
Supp. 3d 8, 25 (D.D.C. 2019), in which another court in this jurisdiction analyzes the question of
property retention under the Fourth Amendment “reasonableness” test. But the court in Smith
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than those advanced by Plaintiff Asinor here: “The evil of an unreasonable search or seizure is

that it invades privacy[.]” Martin v. Marinez, 934 F.3d 594, 601 (7th Cir. 2019) (quoting Townes

v. City of New York, 176 F.3d 138, 148 (2d Cir. 1999)). If Plaintiff Asinor’s privacy was invaded

in any sense in this case, it was at the time his property was seized, an invasion that Plaintiff does

not challenge.

       Plaintiffs cite United States v. Jacobsen, 466 U.S. 109, 124 (1984), for the proposition

that “a seizure lawful at its inception can nevertheless violate the Fourth Amendment because its

manner of execution unreasonably infringes possessory interests.” Am. Compl. at ¶ 124. But

the issue in Jacobsen was that the government seized and then promptly destroyed the plaintiff’s

property, thereby “convert[ing] what had only been a temporary deprivation of possessory

interests into a permanent one.” Jacobsen, 466 U.S. at 124-25; see United States v. Place, 462

U.S. 696, 705–10 (1983) (holding that a brief “investigative detention[ ] of personalty” was

converted to a seizure when the property was retained for a prolonged period and sent to a

different location). In other words, Jacobsen and its predecessor Place “deal only with the

transformation of a momentary, investigative detention into a seizure” and are “ultimately

concerned only with the initial loss of that possessory interest and whether the existence of

probable cause renders that loss reasonable. [They have] no application after probable cause to

seize has been established.” Lee, 330 F.3d at 464. Here, Plaintiff Asinor does not challenge that

his property was lawfully seized at the time he was arrested, and thus, the Fourth Amendment is

simply not relevant to the question of the District’s retention of his seized property.

Accordingly, Claim 4 asserts no plausible violation of the Fourth Amendment and should be

dismissed with prejudice.



did not specifically discuss the question of whether the Fourth Amendment is the proper
constitutional provision.

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       B.      Even if Plaintiff Asinor’s Fourth Amendment Rights Were Violated, He
               Cannot Show that the Violation Was Caused by an Official Municipal Policy.

       Even if the Court finds that Claim 4, if proven, could give rise to a Fourth Amendment

violation, dismissal would still be appropriate because the Amended Complaint does not supply

facts suggesting that an official municipal policy was to blame. The Circuit has identified four

ways official municipal policy can be demonstrated: (1) express policy; (2) actions of a final

“policymaker”; (3) persistent conduct by non-policymakers (i.e. “custom” with force of law);

and (4) “deliberate indifference” to a risk of constitutional injury. Baker, 326 F.3d at 1306–07

(citations omitted). Each theory has its own “elements,” which a § 1983 plaintiff bears the

burden of pleading in accordance with Iqbal. Blue v. District of Columbia, 811 F.3d 14, 20

(D.C. Cir. 2015). Additionally, under any theory, a municipal liability claim separately requires

proof of causation—specifically, an “affirmative link” between the alleged municipal policy and

the alleged constitutional violation, “such that [the former] was the moving force behind the

[latter].” Baker, 326 F.3d at 1306.

       Plaintiff Asinor appears to contend that the District is liable under the third municipal

liability theory—that his Fourth Amendment rights were violated pursuant to a custom of

retaining arrestees’ property. See Am. Compl. ¶ 83. To establish municipal policy arising from

custom, a § 1983 plaintiff bears the burden of putting forth “evidence that the municipality’s

employees engaged in a persistent or regular pattern of conduct that gave rise to the alleged

constitutional violations.” Egudu v. District of Columbia, 72 F. Supp. 3d 34, 41 (D.D.C. 2014)

(citing Warren v. District of Columbia, 353 F.3d 36, 39 (D.C. Cir. 2004)). The standard is not

an easy one to satisfy: The plaintiff must, in effect, plead past events involving government

actions that are prima facie identical to the alleged wrongdoing underlying her claim. See e.g.,

Egudu, 72 F. Supp. 3d at 41 (report “analyz[ing] data related to disorderly conduct arrests [but]

tailored toward exposing racial disparities” could not show policy or custom of “violat[ing] an

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individual’s free speech right or the right to be free from an unlawful seizure”); Hunter v.

District of Columbia, 824 F. Supp. 2d 125, 133-34 (D.D.C. 2011) (report could not evidence

municipal custom where “plaintiff was not arrested for the offense examined in the report”);

Matthews v. District of Columbia, 730 F. Supp. 2d 33, 38 (D.D.C. 2010) (plaintiff’s allegations

of six separate instances of unlawful public strip searches within two years involving numerous

officers were sufficient to state a claim of a municipal custom). Accordingly, Claim 4 is not

actionable unless it is based on factual allegations showing instances of identical alleged

wrongdoing—i.e., examples of the District retaining the property of arrestees after it was

reasonable to do so.

       The eight “[e]xamples of prolonged retentions” referenced in the Amended Complaint

fall well short. Am. Compl. ¶ 85. Plaintiffs’ “examples” are as follows: (1) cell phones

belonging to approximately 40 arrestees seized on August 13, 2020 and retained to the present

(with the exception of three that were returned in the “spring or summer of 2021”) even though

all but one of the arrestees was “no papered” the day after the arrests; (2) a cell phone and

clothing from a robbery suspect seized in February 2020 and returned 15 months after the

suspect pleaded guilty; (3) a cell phone seized from a robbery suspect in June 2020 and retained

to the present, after a trial in which the cell phone was not introduced as evidence; (4) two cell

phones seized from a theft suspect in November 2019 and returned eight months later; (5) a cell

phone seized at an unknown date from a suspect charged in November 2020 with unauthorized

use of a vehicle and retained to the present even though “the government has agreed that the

cell phone should be released”; (6) two cell phones seized in May 2021 from an individual and

retained to the present even though the individual was “no papered”; (7) a cell phone seized

from an individual in October 2015 and returned in October 2019 even though the charges

against the individual were dismissed in March 2018; and (8) cell phones seized from “all or


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nearly all” of more than 200 individuals arrested on January 20, 2017 and returned “at least

eight months” later even though “most” of the criminal charges were dropped. See id. The

Amended Complaint generically describes all these seizures as “prolonged,” id. but the Fourth

Amendment protects against unreasonable seizures, not “prolonged” seizures. And if—as

Plaintiff Asinor suggests over Defendants’ objection—Jacobsen stands for the proposition that

the retention of property lawfully seized could at some point become reasonable, it is surely the

case that there is no bright-line temporal rule about when a seizure becomes unreasonable. Cf.

Jacobsen, 466 U.S. 109. In such a paradigm, the facts of one case may render an 18-month

seizure reasonable, whereas the facts of another may render a one-day seizure unreasonable.

Here, Plaintiff fails to plead facts indicating that MPD has a municipal custom of retaining the

property of arrestees past the point when it is constitutionally reasonable to do so. “[W]ithout

some further factual enhancement,” Iqbal, 556 U.S. at 678, there is simply no way to

determine whether any of the events to which Plaintiff Asinor refers are relevant to his claim of

municipal liability based on custom. Cf. Blue, 811 F.3d at 20 (requiring § 1983 plaintiff to

plead “elements” of municipal liability with “adequate factual support to ‘state a claim to relief

that is plausible onits face,’” as required by Iqbal). As such, Claim 4 cannot proceed against

the District.

                                         CONCLUSION

        For the foregoing reasons, the Court should dismiss Claims 1, 2, and 4 of Plaintiffs’

Amended Complaint.

Date: October 22, 2021                               Respectfully submitted,

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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


OYOMA ASINOR, et al.,

         Plaintiffs,

         v.                                    Civil Action No. 1:21-cv-02158-APM

DISTRICT OF COLUMBIA, et al.,

         Defendants.


                                           ORDER

         Upon consideration of Defendants’ Partial Motion to Dismiss the Amended Complaint

and the entire record, it is hereby:

         ORDERED that Defendants’ Motion is GRANTED; and it is further

         ORDERED that Claims 1, 2, and 4 of Plaintiffs’ Amended Complaint are DISMISSED.

         SO ORDERED.


 Date:
                                                   AMIT P. MEHTA
                                                   United States District Judge




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